Case 3:20-cv-00278-DJH-RSE Document 96 Filed 06/27/23 Page 1 of 2 PageID #: 1134




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                  Filed: June 27, 2023




 Mr. James J. Vilt Jr.
 Western District of Kentucky at Louisville
 601 W. Broadway
 Suite 106 Gene Snyder U.S. Courthouse
 Louisville, KY 40202-2249

                      Re: Case No. 22-5952, Maryville Baptist Church, et al v. Andy Beshear
                          Originating Case No. : 3:20-cv-00278

 Dear Mr. Vilt,

    Enclosed is a copy of the mandate filed in this case.

                                                  Sincerely yours,

                                                  s/Paris LaRon Robinson
                                                  for Robin Baker, Case Manager

 cc: Mr. Mitchel T. Denham
     Mr. Roger K. Gannam
     Mr. Steven Travis Mayo
     Mr. Horatio Gabriel Mihet
     Mr. Taylor Payne
     Mr. Mathew D. Staver
     Ms. Julia Ellen Stephens
     Ms. Laura Crittenden Tipton

 Enclosure
Case 3:20-cv-00278-DJH-RSE Document 96 Filed 06/27/23 Page 2 of 2 PageID #: 1135




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                            ________________

                                               No: 22-5952
                                            ________________

                                                                       Filed: June 27, 2023

 MARYVILLE BAPTIST CHURCH; DOCTOR JACK ROBERTS

                 Plaintiffs - Appellants

 v.

 ANDY BESHEAR, in his official capacity as Governor of the Commonwealth of Kentucky

                 Defendant - Appellee



                                             MANDATE

      Pursuant to the court's disposition that was filed 06/05/2023 the mandate for this case hereby

 issues today.



  COSTS: None
